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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


  LA UNIÓN DEL PUEBLO ENTERO, et al.,

                        Plaintiffs,

                 v.                                             Civil Action No. 5:21-cv-844 (XR)
                                                                (consolidated cases)
  GREGORY W. ABBOTT, et al.,

                        Defendants.


 [PROPOSED] ORDER GRANTING UNITED STATES’S UNOPPOSED MOTION TO
              WITHDRAW JENNIFER J. YUN AS COUNSEL

        The Court has considered the United States’s Motion to Withdraw Jennifer J. Yun as

Counsel and has found it should be GRANTED. Accordingly, it is hereby ORDERED that

Jennifer J. Yun is withdrawn as counsel of record for the United States in this matter.



Date: July ____, 2024



                                                     __________________________________
                                                     XAVIER RODRIGUEZ
                                                     UNITED STATES DISTRICT JUDGE
